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                     Exhibit B
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Shifra Dirnfled



August 16, 2020

Honorable Judge Kenneth Karas
U.S District Court

Re: Aron Melber

Dear Judge Karas,

My name is Shifra Dirnfeld and I am the aunt of Aron (Ari as we all call him) Melber.

I have known Aron since I came to America from Israel about 40 years ago. Ari was the
second born child to my sister in law but he always acted like he was the oldest brother
to his siblings. Ari was a brilliant child his bright future was ahead of him. I always
thought he will be either a Rabbi of a big community or a successful businessman. As I
  aid he a b illia B A i had me hi g el e i mi d he a                   l ki g for honor he
   a    l ki g f      eal h he a l ki g f he f               e f    ge e a i

Aron Melber immersed himself in a Yeshiva for the little ones. He wanted kids to get the
same best education and school environment as he wanted for his own children. And for
this he worked hard. He did everything, nothing was below his dignity. From hiring the
best educators to carrying benches or wiping a kid's nose. He put his whole heart and
soul in this Yeshiva. This is Aron Melber.

And now when we all are facing this terrible virus that has changed so many lives Aron
 h     hi leade hi Hi m he g ick a d a i di e c di i                   A    did le hi
family fall apart. Aron was the one who was speaking to the doctors. Aron he is the one
who was worrying about his father who got sick too. Aron he is the one who was
standing day a night in front of the hospital when no one was allowed to go in to hear
any piece of information. His mother is still on a respirator with a long way to go. Aron is
the one who arrange all transportations and shifts to be with his mother who needs it so
much for her recovery.

We all need him. His family needs him the children need him.

Please have us all in mind when making your decision.

Sincerely,

Shifra Dirnfeld
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July 29, 2020



                                                                 Re:     Aron Melber



To:     Honorable Kenneth M. Karas
        United States District Judge
        United States Courthouse
        Southern District of New York
        300 Quarropoas St., Courtroom 521
        White Plains, New York 10601



       Dear Judge Karas I m ri ing o o on behalf of m dear ncle Aron Melber. From a very young
age I always looked up to my uncle, and as I grew older that respect and love only keeps on growing.

       My uncle Aron has devoted his life to serving the community. He is single handedly running a
school for community kids, and is personally involved in ensuring each boy s success. Aron himself works
tirelessly to make sure all of the expenses involved in running the school are covered. More than once
Aron came up to my office to raise funds for his school. The passion and hearth that Aron puts into this
school is something that really inspired me to do more for the community.

      On a personal note, one other thing that struck a chord for me was watching Aron care for our late
grandfather the past few years. Our late grandfather was a community Rabbi for many years, he
suffered from many health conditions, including 2 strokes. Aron cared for him with such love and
devotion the past years.

      In conclusion, Aron is a person of great character. He has had such an amazing impact on me and
the community as a whole. I believe that it s fair to say that Rockland County today has many fewer
teens at risk thanks Aron.

Sincerely,



Izzy Green
CEO




                               Evergreen Insurance & Risk Management
                              25 Robert Pitt Drive, Suite 200-F, Monsey, NY 10952
                      tel: 845-789-4433 | fax: 845-789-4431 | www.trustevergreen.com
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Honorable Judge:

We hereby plea for mercy to your honorable judge regarding our most devoted and respected family
member, Mr. Aron Melber - husband of my sister Rivka Melber and father of their well raised children,
my precious nieces and nephews .


Ever since Aron came into our family he was admired by all due to his extreme kindness, devotion and
dedication to all family matters that needed time, addressing each with special understanding. In year
2000 when our late father and renowned Talmudic scholar suffered a stroke becoming physically
disabled, Aron Melber orchestrated himself, wife and teenaged children around the clock 24/7 to avail
themselves to assist with all possible means towards our parents. This went so far that he moved from
his apartment and came to live across the street of our parents, so they may be closer and more
available to be of help as needed.


Working nearby to where Aron’s school is, I was always amazed to see the true love and dedication Aron
displays towards his students of all ages.


Knowing Aron, he truly regrets and totally understands his wrongdoings even with best intentions he
now clearly knows and understands that he cannot be acceptable. Together with him we all plea of Your
Honorable Judge to give him a new chance to totally be his best and do his best, so we can all benefit of
his incredible capabilities towards his family, children and students of all ages .


Last but foremost please take into consideration that Aron’s case went worldwide! THE BRIDE’S FATHER
ARRESTED THE MORNING OF THE WEDDING DAY. Yes, this was true and took place at the Melbers. The
cries of the youngsters, the bitter tears of the bride’s mother and the bride herself! The long awaited
day that was going to be so joyful became marred and fogged with the arrest of her dear father. In this
case the outrageous amount of shame and embarrassment was by all means the biggest form of
punishment one can imagine!


Hopefully Your Honorable Judge will graciously consider all this, and grant Aron his future. He will be
able to correct his wrongdoings and teach his children and students honesty and righteousness.

Yours truly,
Shmuel and Malky Green
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August 10, 2020
Dear Honored Judge,
      It is with appreciation that I'm writing to you, as I know you
will treat my father justly.
      I' m writing here about my father, so Your Honor can see
who he really is; the person so many look up to and learn from -
- the person who has loved and protected me since the moment
I was born.


     In the last 22 years, beginning when I was a small child, my
Totty devoted many hours caring for me, even giving up much of
the precious few hours he had to sleep. As we got older, Totty
was always there for us and giving us a good time. I enjoy
thinking about the many summer outings which we did as a
family. The fun began as we got into the car and went uphill from
there. We spent real quality family time as we picked fruits and
vegetables in a farm or while watching the animals in the zoo.
My favorite were the parks where my father would race us and
played tag with us. We squealed in delight as we ran; playing
with Totty was fun. With Totty, even something as mundane as
getting ready for bed was fun . Totty tickled us as he helped us
unbutton our shirts. Anything we did with Totty was fun .
    Sabbath and holidays mean a lot of family time together.
Before I learnt to appreciate the day for what it is, I knew it was
good and fun . Sabbath is the day of the week when we were all


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home enjoying each other's company. Besides for the meals
which we all ate together while sharing thoughts and
experiences as a family, we always had spirited singing between
the courses, and the whole day was filled with so much more
family time. Totty would sing with us teaching us new songs as
he bounced us on his lap. Totty used to take us on walks around
the neighborhood, giving us his full attention. It was also the
time that we would play games. Totty taught us all chess which
we all knew and enjoyed from a young age. Totty made Sabbath
a great start for the new week.
     Life has its hurdles; when they came I knew Totty would be
there to help me. Totty took me to many doctor appointments.
Regular checkups and seasonal sicknesses, dentists and eye
doctors and heart specialists, each visit was given his full
attention. Totty was very on top of us taking our medicine
anytime we were sick; he wanted us healthy as soon as possible.
I remember Totty taking me to many different doctors because I
had constant headaches. Not only did Totty carve out time in his
busy day to take me, Totty did it with heart even buying treats
and prizes on the way.
     Totty chose the school he fielt would be best for his girls, yet
for some reason I struggled. ifi0tty sat with me and practiced
reading which eventually paid 0ff. Whenever the school didn't
have transportation Totty drove us and our friends; we
eventually nicknamed his van the silver bus. Totty was always
interested in what we were learraing and wanted us to do well.
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As an eighth grader I got into a fight with one of my classmates;
my father helped me get the right perspective and showed me
how to move on in life. Totty taught me to forgive and forget, to
care and so much patience.
     There were times that I knew my family was struggling
financially. We couldn't buy everything and moved to a house
with cheaper rent. My parents let us know that we could pray to
have enough money, but Totty made sure not to burden us.

    As I was growing up, I felt lucky to be part of this family
where the head of the house, Totty, is so perfect.
     May 27, 2020 Totty called me out for a drive, and gave me
money to buy myself a piece of jewelry for my birthday. Now, on
my twenty second birthday, I couldn't help but feel
overwhelmed with gratitude for the life my parents granted me.
This year life had taken a weird twist, and the unimaginable
became reality. We were quarantined for months, stuck at home
with no visitors. I couldn't imagine sticking it out, but I quickly
saw how lucky I am. I was locked in with the best people, my
loving family. Even with the painful stress of so many loved ones
being sick, and being sick himself, my father was always his
loving and giving self. In this time of being together for so long, I
got to witness and experience more of who my father really is.
     As I mature, I learn to love and appreciate Sabbath and
Holidays more. Our family is big, we are nine siblings, ages 2 - 24,
so we don't all get to spend time together each day. Sabbath and
Holidays are when we sit together for meals and enjoy each

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other's company. Totty, from the head of the table, leads the
singing and I love singing along. After the meal Totty and my little
brothers hold hands and dance in a circle while singing.
     Totty is very busy with his school, devoting so much of
himself to his students. There are days when my father almost
doesn't get to his bed before he has to wake up. It is all worth it
for him because he loves helping others. Sometimes people
don't appreciate my father's hard work and complain and blame
my father for mishaps. Watching how my father doesn't lose his
cool and still continue giving to those people is really inspiring to
me.
     Even though Totty is so busy, when I need advice or help or
even just a listening ear, it's as if nothing else exists for him. A
year ago I went through a medical procedure. Totty took me to
the pre-op appointments including some last minute ones as
complications arose. When they wheeled me in, I felt calm
knowing I'm not alone. Totty really understands me and always
has the right words to encourage and calm me. Totty constantly
encourages and helps me in my battle to lose weight. Totty is
always available for us, his c~ildren, and I know that my
enjoyment and success gives Totty pleasure. Although my father
never attempted to learn any ranusical instrument, Totty shows
full interest in my learning t o play trne piano.
     As our family grew, s0 cilia rililY fathers heart. It grew to love
every one of my sisters ara0 011,0~mers, including my brother-in-
law. I look forward to tais heart expanding even further when I
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get married. I want my future children to experience such love.
Love that a thousand words can't express.
    When I look at the life my father is leading, it seems perfect.
As perfect as a humanly possible. Of course I know that my Totty
made a real mistake, but it doesn't outweigh the tremendous
good that he brings to the world.
     Honorable Judge, please understand and accept the depth
of the plea of a daughter, who wants her father home.
      Thank you Judge for your time and for working to bring
justice to America.

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Honorable Judge Karas,

With trembling hands and broken heart, I write these lines to Your Honor regarding my son, Aron Melber
who is scheduled to appear before you shortly. It is probably understandable for any father to plead on
behalf of a son who finds himself in troubling circumstances. But in the case of Aron, I want to describe to
y ou just what sort of human being will be standing before you.

From the time he was a very young lad, he was an extraordinarily disciplined and respectful child. Both at
home and in school, he was always helpful and polite, and urged his siblings to do the same. Without
being asked, he offered to help with household chores or assisting younger siblings with homework.

In school, he earned top grades, and was a model student in every way. Every PTA meeting was a source
of pride to us. Because his academic performance coupled with his beautiful character was exemplary, he
was asked to become a student in the new branch of the school that was opening in Montreal, Canada.
They wanted him as a model of an ideal student, a positive influence and asset to the new school. Indeed,
he proved to be just that in every way, even smoothing out differences that arose among other high school
students.

This dedication and idealism remained at his core, even as he married and established his wonderful
family. He is not only a supremely responsible and dedicated father to his own children, but is also
committed to the good of the community. It is this selflessness and the perceived lack he felt in the
availability of schools to address the varied unique needs of each individual student, that compelled him
to get involved in the school he now runs.

Though the salary was inadequate for his growing family, his passion to make a difference in the lives of
his students made him forge ahead, even as he struggled financially to meet his own personal needs, to
the extent that he once borrowed money from a family member to cover his rent.

As noble as his deeds, and admirable his intentions, the intense pressure jt brought him were, in the end,
the very cause of his regrettable· actions. Though we, and countless others were incredulous when we
heard of his unfortunate situation, nobody was as shocked and mortified as Aron himself. It was just so
utterly out of character to place himself above the law, after a lifetime of upright model behavior. It would
be perfectly understandable for him to try to hide his circumstances and the trouble it has brought him_.
but he has made no secret of his missteps, In order to serve as an example to others to avoid the type of
regrettable behavior that can result from intense pressure· to be everything to everybody. Because, he
has learned the hard way, the end cannot justify the means, if those means are not according to the last
letter of the law. He will carry this badge of shame and profound remorse to the grave, and it is obvious
to all who know him.

Dear Judge, Aron has done so much good, so altruistically and for so many over the years, without
personal enrichment or gain. He is beloved by young and old, and is needed for the greater good of so
many who depend on him. Most importantly, his mother is critici;illy ill with Covid 19, and a prison
sentence for him would be a death sentence for her G-d forbid, for the heartache it would cause. His
mother-in-law, who is struggling with cancer is also investing her heart and prayer on his behalf.

I implore you to consider the innumerable noble deeds he has accumulated over the course of so many
years for the benefit of so many youngsters, adults, family and strangers. As for my own broken-hearted
plea, please place my words and tears on the scale so that you may temper justice with mercy for a young
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                                                                                        Aug. 17,2020



Dear honorable Judge karas,



    My name is Yeedle Melber, I live in Brooklyn NY with my wife Anna and our six children. Aron
Melber is my older brother, we are a family of eight siblings, Aron is the second child, and I' m the
third.

    I' d like to take the time to share a bit of my perspective about my dear, beloved older brother.
Growing up right under Aron was both a privilege and a responsibility. He was always the bright
kid, was beloved by his friends and respected by his teachers.

    Since I went to the same school system he went to, I got used to the question every teacher
asked me in the beginning of the new year, "Are you a brother of Aron Melber?" and when I
affirmed it, they would say "Aron is really something special! " or "You have big shoes to fill! " All
teachers expressed their admiration and all friends expressed their love for Aron .

    So you see, I had a great introduction in life, being looked at favorably by all, for being Aron ' s
brother, but at the same time I always felt the pressure to be like Aron, and so I had to be on top
of my game. Aron was my role model, how to be a good student and a great friend.

    Aron was an especially important figure in my life, he was not only my older brother, but he
was my mentor as well. When our youngest brother was born, the eighth member of our family
the situation became complicated.
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    We made a promise to make sure that our children and other families will never go through
our turbulent childhood experience. We know that the damage done to the Childs psychological
well-being, has a lifelong negative affect. Aron went into the field of education, I started working
as a relationship and communication coach and marriage counselor. Another brother Yitzchok,
devoted himself to women's health. We are all very passionate to help other families have happy
and healthy parents.
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    After Aron got married to his wife Rivka, he continued to be an inspiration to me. He
discovered his passion of helping students that needed help. His father in law, Rabbi Moshe
Green runs a yeshiva for teenage boys, and Aron started to connect with these boys on a daily
basis. He encouraged the boys, and supported them emotionally and academically. In general,
he helped each child reach their full potential.

    The boys loved him and responded well to him, so it's only natural that when Aron's friend
Rabbi Friedman shared with him that he is running his own private school for boys, lmrei Shufer,
and is looking for help, Aron felt obligated to come and help lead the school.

    Aron found there his calling. He was completely overtaken with excitement and enthusiasm
at the prospect of being able to shape the hearts and minds of these youngsters. After a while
when Rabbi Friedman decided to move to Israel, the school fell on the shoulders of Aron . He
didn't have the means nor the expertise to run this operation, but he couldn't see this school fail.
He threw himself into it, selflessly working day and night, for years without getting paid properly.
He struggled personally to pay his rent, bills for food, and all basic family needs.

    Aron has a large family of 9 children. He spends his days between running the school, and
providing for his family. His kids at home love him and feel very connected to him, since he always
puts them as his first priority. They know that nothing in the world can make him take a break
from school, only his family. Like Aron always says " Family first". He spends time talking and
connecting with each child on a daily basis. He asks them for their opinion on important matters,
shares his day with them, listens to their stories, and sings with them .

    In school, he made it his mission to revolutionize the Hasidic education system. He is a trail
blazer, always pushing the envelope and opening new doors. He is always bringing down speakers
and educators to inform his teachers and staff, how to instruct and how to bring out the best in
each student. He reminds his staff that we aren't just teaching them the material, we are teaching
them how to problem solve, how to analyze situations correctly, critical thinking, and how to live
happy lives, respectful of others. He puts a great emphasis on building the self-esteem of each
individual student, running many programs to give every child a chance to shine, each with their
specialty; teaching music, singing, and art.

    He advanced and modernized his school on many levels. As far as I know he is the only Hasidic
school with its own official YouTube channel, Facebook page (Cheder lmrei Shufer), and
lnstagram account (imreishufermonsey). I invite you to check it out. You are sure to be inspired,
seeing the love and happiness on the sweet faces of all students. This is directly the work of Aron,
it's solely his credit. But Aron is a modest guy, always in the background, not looking to take any
credit. Like a real humble leader, he always gives recognition, and makes people feel it's their
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accomplishment. But I can tell you the truth, it's all Aron Melber. Because the school is his life,
and his life is the school.

    I've heard from Aron many times how he would go to the end of the world to help each
student, he wouldn't stop for anything. These students and their parents are very fortunate that
Aron is leading this school, guaranteeing them the best Hasidic education possible.

    Aron is best described as a person of integrity, putting others before him, focused on
education, and believing in being just and always doing the right thing, lawfully and socially, even
at a personal cost.

    Aron has had a turbulent childhood, he suffered a lot. He regrets the mistakes he made, he
has always been and will always be an important member of our family and community. He has
done so much good and he learned from this latest ordeal to be a fully responsible citizen.




                                                                                      Respectfully,

                                                                                    Yeedle Melber
